                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      )
                                               )
                                               )
               v.                              )      No. 22-cr-15 (APM)-7
                                               )
       JOSEPH HACKETT,                         )
                                               )
                       Defendant.              )
                                               )

                                              ORDER

       AND NOW, this _____ day of ________________, 2022, upon consideration of

Defendant’s Consent Motion to Modify Conditions of Pretrial Release, it is hereby ORDERED

that the motion is GRANTED. Defendant Joseph Hackett’s Additional Conditions of Pretrial

Release, 7(t), shall be modified to reflect the following:


Defendant is not to have any access to computers, smartphones, tablets or any device that would
allow him to communicate through either encrypted or non-encrypted applications; however,
Defendant shall be permitted to personally access a desktop or laptop computer for video and/or
audio conferences with counsel and to connect to remote Court proceedings. Further, Defendant
shall be permitted access to a desktop or laptop computer under the following limited conditions:
1) to review discovery materials that are not subject to the Protective Order by himself, and 2) to
review discovery materials subject to the Protective Order with counsel via video conference.


       All other conditions of Pretrial Release shall remain the same.




                                               _____________________________
                                               The Honorable Amit P. Mehta
                                               United States District Court Judge
                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
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                                             )
               v.                            )       No. 22-cr-15 (APM)-7
                                             )
       JOSEPH HACKETT,                       )
                                             )
                      Defendant.             )
                                             )

      JOSEPH HACKETT’S CONSENT MOTION TO MODIFY CONDITIONS OF
                         PRETRIAL RELEASE

       Defendant, Joseph Hackett, by and through his undersigned counsel, Angela Halim, Esq.,

hereby respectfully requests the Court grant his motion and amend conditions of pretrial release

so that Mr. Hackett can access a computer on a limited basis. In support thereof, Mr. Hackett

avers as follows.

       1) On August 23, 2021, the Court entered an Order Setting Conditions of Release, ECF

           362, 21-cr-28. The Court ordered, among other special conditions, that Mr. Hackett

           “is not to have any access to computers, smartphones, tablets, or any device that

           would allow him to communicate through either encrypted or non-encrypted

           applications.” Additional Conditions of Release, section 7(t), p. 3.

       2) Mr. Hackett submits this consent request to modify section 7(t) to allow limited

           personal computer access for the purpose of participating in remote Court

           proceedings, video and/or audio conferences with counsel, and for discovery review.

       3) The government has advised that it does not oppose Mr. Hackett’s request to modify

           section 7(t) as outlined in the attached, proposed Order.



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4) Mr. Hackett resides in Florida and his undersigned counsel in Philadelphia. As such,

   Mr. Hackett and counsel primarily communicate via video conference by computer.

   Pretrial Services allows Mr. Hackett very limited access to a computer under his

   wife’s supervision. To most effectively assist counsel in preparing for trial, Mr.

   Hackett’s seeks a limited expansion of his ability to access and use a computer for

   remote court proceedings, video conferences with counsel, and to review discovery

   materials.

5) To review discovery, Mr. Hackett and counsel review materials together while video

   conferencing. As previously referenced, to comply with the conditions set forth at

   section 7(f), Mr. Hackett’s wife must set up the computer, connect to the video

   conference, and personally monitor him the entire time he is on the computer. Mr.

   Hackett respectfully requests that he be permitted personal access to a desktop or

   laptop computer so that he can review non-protected discovery materials on his own,

   without relying on his wife’s availability.

6) With regard to the review of discovery materials subject to the Court’s April 1, 2021

   (ECF 123 21-cr-28), it is imperative that Mr. Hackett have privacy to review those

   materials during video conferences with counsel.

7) Mr. Hackett is in compliance with all terms of Pretrial Release. He does not seek to

   alter any other release condition at this time, except as outlined herein.




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    8) For all the reasons set forth above, Mr. Hackett respectfully requests the Court enter

       the attached proposed Order to allow limited, personal access to a computer.



                                                 Respectfully submitted,



                                                 ______/s/ Angela Halim__________
                                                 Angela Halim, Esq.,
                                                 3580 Indian Queen Lane
                                                 Suite 10A
                                                 Philadelphia, PA 19129
                                                 (215) 300-3229
                                                 angiehalim@gmail.com

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
Court using CM/ECF. I also certify that the foregoing is being served this day on all counsel of
record, via transmission of Notices of Electronic Filing generated by CM/ECF.




                                                             ______/s/ Angela Halim ________
                                                             Angela Halim, Esq.

Dated: August 2, 2022




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